                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

                                  )
    IN RE: REALPAGE, INC., RENTAL )                     Case No. 3:23-md-3071
    SOFTWARE ANTITRUST LITIGATION )                     MDL No. 3071
    (NO. II)                      )
                                  )                     Chief Judge Waverly D. Crenshaw, Jr.
                                  )
                                  )                     This Document Relates to:
                                  )                     3:22-cv-01082
                                  )                     3:23-cv-00332
                                  )                     3:23-cv-00357
                                  )                     3:23-cv-00378
                                  )                     3:23-cv-00410
                                  )                     3:23-cv-00413
                                  )                     3:23-cv-00552
                                                        3:23-cv-00742
                                  )
                                                        3:23-cv-00979
                                  )



               NOTICE OF FILING OF CORRECTED APPENDIX D TO
              JOINT REPORT CONCERNING RULE 26(f) CONFERENCE

       Without waiving any privilege or protection against discovery, including the attorney-

client privilege or work product protection, the undersigned Defendants 1 hereby file the Corrected

Appendix D to Joint Report Concerning Rule 26(f) Conference (the “Corrected Appendix D”)

attached hereto as Exhibit 1. The Corrected Appendix D should replace the Appendix D to Joint

Report Concerning Rule 26(f) Conference filed at Dkt. 776-7.




1
 Defendants Prometheus Real Estate Group, Inc., Rose Associates, Inc., Sares Regis Group
Commercial, Inc. and CONTI Texas Organization Inc., d/b/a CONTI Capital did not join the Joint
Report Concerning Rule 26(f) Conference due to the pendency of their personal jurisdiction
motion to dismiss and the subsequent instructions from the Court to further brief those issues. See
Dkt. 701, 712.
                                                1

Case 3:23-md-03071        Document 794        Filed 02/14/24     Page 1 of 16 PageID #: 14435
 Dated:   February 14, 2024

 Respectfully submitted,


 /s/ Jay Srinivasan                                 /s/ Edwin Buffmire
 Jay Srinivasan (admitted pro hac vice)             Edwin Buffmire
 jsrinivasan@gibsondunn.com                         ebuffmire@jw.com
 Daniel G. Swanson (admitted pro hac vice)          Michael Moran
 dswanson@gibsondunn.com                            mmoran@jw.com
 GIBSON, DUNN & CRUTCHER LLP                        JACKSON WALKER LLP
 333 South Grand Avenue                             2323 Ross Ave., Suite 600
 Los Angeles, CA 90071                              Dallas, TX 75201
 Telephone: (213) 229-7430                          Telephone: (214) 953-6000

 Stephen Weissman (admitted pro hac vice)           Kevin Fulton
 sweissman@gibsondunn.com                           kevin@fultonlg.com
 Michael J. Perry (admitted pro hac vice)           THE FULTON LAW GROUP PLLC
 mjperry@gibsondunn.com                             7676 Hillmont St., Suite 191
 GIBSON, DUNN & CRUTCHER LLP                        Houston, TX 77040
 1050 Connecticut Avenue, NW                        Telephone: (713) 589-6964
 Washington, DC 20036
 Telephone: (202) 955-8678                          Counsel for Defendant Allied Orion Group,
                                                    LLC
 S. Christopher Whittaker (admitted pro hac
 vice)
 cwhittaker@gibsondunn.com
 GIBSON, DUNN & CRUTCHER LLP
 1361 Michelson Drive
 Irvine, CA 92612
 Telephone: (212) 351-2671

 Ben A. Sherwood (admitted pro hac vice)
 bsherwood@gibsondunn.com
 GIBSON, DUNN & CRUTCHER LLP
 200 Park Avenue
 New York, NY 10166
 Telephone: (212) 351-2671

 Thomas H. Dundon (SBN: 004539)
 tdundon@nealharwell.com
 Neal & Harwell, PLC
 1201 Demonbreun Street, Suite 1000
 Nashville, TN 37203
 Telephone: (615) 244-1713

 Counsel for Defendant RealPage, Inc.

                                                2

Case 3:23-md-03071         Document 794       Filed 02/14/24      Page 2 of 16 PageID #: 14436
 /s/ Danny David                                    /s/ Ian Simmons
 Danny David                                        Ian Simmons
 danny.david@bakerbotts.com                         isimmons@omm.com
 BAKER BOTTS LLP                                    O’MELVENY & MYERS LLP
 910 Louisiana Street                               1625 Eye Street, NW
 Houston, TX 77002                                  Washington, DC 20006
 Telephone: (713) 229-4055                          Telephone: (202) 383-5196

 James Kress (pro hac vice forthcoming)             Stephen McIntyre
 james.kress@bakerbotts.com                         smcintyre@omm.com
 Paul Cuomo (pro hac vice forthcoming)              O’MELVENY & MYERS LLP
 paul.cuomo@bakerbotts.com                          400 South Hope Street, 18th Floor
 BAKER BOTTS LLP                                    Los Angeles, CA 90071
 700 K. Street, NW                                  Telephone: (213) 430-6000
 Washington, DC 20001
 Telephone: (202) 639-7884                          Counsel for Defendant BH Management
                                                    Services, LLC
 John R. Jacobson (#14365)
 jjacobson@rjfirm.com
 Milton S. McGee, III (#24150)
 tmcgee@rjfirm.com
 RILEY & JACOBSON, PLC
 1906 West End Avenue
 Nashville, TN 37203
 Telephone: (615) 320-3700

 Counsel for Defendant Avenue5 Residential,
 LLC




                                                3

Case 3:23-md-03071      Document 794          Filed 02/14/24      Page 3 of 16 PageID #: 14437
/s/ Marguerite Willis                              /s/ Edwin Buffmire
Marguerite Willis (admitted pro hac vice)          Edwin Buffmire
mwillis@maynardnexsen.com                          ebuffmire@jw.com
MAYNARD NEXSEN PC                                  Michael Moran
104 South Main Street                              mmoran@jw.com
Greenville, SC 29601                               JACKSON WALKER LLP
Telephone: (864) 370-2211                          2323 Ross Ave., Suite 600
                                                   Dallas, TX 75201
Michael A. Parente (admitted pro hac vice)         Telephone: (214) 953-6000
mparente@maynardnexsen.com
MAYNARD NEXSEN PC                                  Counsel for Defendants Trammell Crow
1230 Main Street, Suite 700                        Residential Company and Crow Holdings, LP
Columbia, SC 29201
Telephone: (803) 771-8900

Margaret M. Siller (BPR No. 039058)
msiller@maynardnexsen.com
MAYNARD NEXSEN PC
1131 4th Avenue South, Suite 320
Nashville, Tennessee 37210
Telephone: (629) 258-2253

Counsel for Defendant Bell Partners, Inc.




                                               4

Case 3:23-md-03071       Document 794        Filed 02/14/24     Page 4 of 16 PageID #: 14438
 /s/ James D. Bragdon                               /s/ Yehudah L. Buchweitz
 James D. Bragdon                                   Yehudah L. Buchweitz
 jbragdon@gejlaw.com                                yehudah.buchweitz@weil.com
 Sam Cowin                                          WEIL, GOTSHAL & MANGES LLP
 scowin@gejlaw.com                                  767 Fifth Avenue
 GALLAGHER EVELIUS & JONES LLP                      New York, NY 10153
 218 N. Charles St., Suite 400                      Telephone: (212) 310-8256
 Baltimore, MD 21201
 Telephone: (410) 727-7702                          Jeff L. White
                                                    jeff.white@weil.com
 Philip A. Giordano (admitted pro hac vice)         WEIL, GOTSHAL & MANGES LLP
 philip.giordano@hugheshubbard.com                  2001 M Street, NW
 HUGHES HUBBARD & REED LLP                          Washington, DC 20036
 1775 I Street NW                                   Telephone: (202) 682-7059
 Washington, DC 20007
 Telephone: (202) 721-4776                          /s/ E. Steele Clayton IV
                                                    E. Steele Clayton IV (BPR 017298)
 Charles E. Elder, BPR # 038250                     sclayton@bassberry.com
 celder@bradley.com                                 Jeremy A. Gunn (BPR 039803)
 BRADLEY ARANTBOULT CUMMINGS LLP                    jeremy.gunn@bassberry.com
 1600 Division Street, Suite 700                    Bass, Berry & Sims PLC
 Nashville, Tennessee 37203                         150 Third Avenue South, Suite 2800
 P: 615.252.3597                                    Nashville, TN 37201
                                                    Telephone (615) 742-6200
 Counsel for Defendant                              Facsimile (615) 742-6293
 Bozzuto Management Company
                                                    Counsel for Defendant Brookfield Properties
                                                    Multifamily LLC




                                                5

Case 3:23-md-03071       Document 794         Filed 02/14/24      Page 5 of 16 PageID #: 14439
 /s/ Danielle R. Foley                              /s/ Lynn H. Murray
 Danielle R. Foley (admitted pro hac vice)          Lynn H. Murray
 drfoley@venable.com                                lhmurray@shb.com
 Andrew B. Dickson (admitted pro have vice)         Maveric Ray Searle
 abdickson@venable.com                              msearle@shb.com
 VENABLE LLP                                        SHOOK, HARDY & BACON L.L.P.
 600 Massachusetts Avenue, NW                       111 S. Wacker Dr., Suite 4700
 Washington, D.C. 20001                             Chicago, IL 60606
 (202) 344-4300                                     Telephone: (312) 704-7766

 Counsel for Defendant CH Real Estate               Ryan Sandrock
 Services, LLC                                      rsandrock@shb.com
                                                    Shook, Hardy & Bacon L.L.P.
 /s/ Benjamin R. Nagin                              555 Mission Street, Suite 2300
 Benjamin R. Nagin                                  San Francisco, CA 94105
 bnagin@sidley.com                                  Telephone: (415) 544-1944
 SIDLEY AUSTIN LLP
 787 Seventh Avenue                                 Laurie A. Novion
 New York, NY 10019                                 lnovion@shb.com
 Telephone: (212) 839-5300                          SHOOK, HARDY & BACON L.L.P.
                                                    2555 Grand Blvd.
 Counsel for Defendant ConAm Management             Kansas City, MO 64108
 Corporation                                        Telephone: (816) 559-2352

                                                    Counsel for Defendant Camden Property Trust




 /s/ Bradley C. Weber                               /s/ Todd R. Seelman
 Bradley C. Weber (admitted pro hac vice)           Todd R. Seelman
 bweber@lockelord.com                               todd.seelman@lewisbrisbois.com
 LOCKE LORD LLP                                     Thomas L. Dyer
 2200 Ross Avenue, Suite 2800                       thomas.dyer@lewisbrisbois.com
 Dallas, TX 75201                                   LEWIS BRISBOIS BISGAARD & SMITH LLP
 Telephone: (214) 740-8497                          1700 Lincoln Street, Suite 4000
                                                    Denver, CO 80203
 Counsel for Defendant Dayrise Residential,         Telephone: (720) 292-2002
 LLC
                                                    Counsel for Defendant Cortland Management,
                                                    LLC




                                                6

Case 3:23-md-03071      Document 794          Filed 02/14/24      Page 6 of 16 PageID #: 14440
    /s/ Charles H. Samel                             /s/ Ann MacDonald
    Charles H. Samel                                 Ann MacDonald
    charles.samel@stoel.com                          Ann.macdonald@afslaw.com
    Edward C. Duckers                                Barry Hyman
    ed.duckers@stoel.com                             Barry.hyman@afslaw.com
    STOEL RIVES LLP                                  ARENTFOX SCHIFF LLP
    1 Montgomery Street, Suite 3230                  233 South Wacker Drive, Suite 7100
    San Francisco, CA 94104                          Chicago, IL 60606
    Telephone: (415) 617-8900                        Telephone: (312) 258-5500

    George A. Guthrie                                Counsel for Defendant CWS Apartment Homes,
    gguthrie@wilkefleury.com                         LLC
    WILKE FLEURY LLP
    621 Capitol Mall, Suite 900
    Sacramento, CA 95814
    Telephone: (916) 441-2430

Counsel for Defendant FPI Management, Inc


    /s/ Carl W. Hittinger                            /s/ Leo D. Caseria
    Carl W. Hittinger                                Leo D. Caseria
    chittinger@bakerlaw.com                          lcaseria@sheppardmullin.com
    Alyse F. Stach                                   Helen C. Eckert
    astach@bakerlaw.com                              heckert@sheppardmullin.com
    Tyson Y. Herrold                                 SHEPPARD MULLIN RICHTER & HAMPTON LLP
    therrold@bakerlaw.com                            2099 Pennsylvania Avenue, NW, Suite 100
    BAKER & HOSTETLER LLP                            Washington, DC, 20006
    1735 Market Street, Suite 3300                   Telephone: (202) 747-1925
    Philadelphia, PA 19103-7501
    Telephone: (215) 568-3100                        Arman Oruc
                                                     aoruc@goodwinlaw.com
    Stephen J. Zralek, BPR #018971                   GOODWIN PROCTER, LLP
    szralek@spencerfane.com                          1900 N Street, NW
    S. Chase Fann, BPR #036794                       Washington, DC 20036
    cfann@spencerfane.com                            Telephone: (202) 346-4000
    SPENCER FANE LLP
    511 Union Street, Suite 1000                     Counsel for Defendant Essex Property Trust,
    Nashville, TN 37219                              Inc.
    Telephone: (615) 238-6300

    Counsel for Defendant Equity Residential
.




                                                 7

Case 3:23-md-03071          Document 794       Filed 02/14/24      Page 7 of 16 PageID #: 14441
 /s/ Michael D. Bonanno                     /s/ Michael M. Maddigan
 Michael D. Bonanno (admitted pro hac vice) Michael M. Maddigan
 mikebonanno@quinnemanuel.com               michael.maddigan@hoganlovells.com
 QUINN EMANUEL URQUHART & SULLIVAN LLP HOGAN LOVELLS US LLP
 1300 I St. NW, Suite 900                   1999 Avenue of the Stars, Suite 1400
 Washington, DC 20005                       Los Angeles, CA 90067
 Telephone: (202) 538-8225                  Telephone: (310) 785-4727

 Christopher Daniel Kercher (admitted pro hac William L. Monts, III
 vice)                                        william.monts@hoganlovells.com
 christopherkercher@quinnemanuel.com          Benjamin F. Holt
 QUINN EMANUEL URQUHART & SULLIVAN LLP benjamin.holt@hoganlovells.com
 51 Madison Avenue, 22nd Floor,               HOGAN LOVELLS US LLP
 New York, New York 10010                     555 Thirteenth Street, NW
 Telephone: (212) 849-7000                    Washington, DC 20004
                                              Telephone: (202) 637-6440
 Andrew Gardella, Esq. (TN Bar #027247)
 agardella@martintate.com                     Joshua C. Cumby (BPR No. 37949)
 MARTIN, TATE, MORROW & MARSTON P.C.          joshua.cumby@arlaw.com
 315 Deaderick Street, Suite 1550             F. Laurens Brock (BPR No. 17666)
 Nashville, TN 37238                          larry.brock@arlaw.com
 Telephone: (615) 627-0668                    Rocklan W. King, III (BPR No. 30643)
                                              rocky.king@arlaw.com
 Counsel for Defendant Highmark Residential, ADAMS AND REESE LLP
 LLC                                          1600 West End Avenue, Suite 1400
                                              Nashville, TN 37203
                                              Telephone: (615) 259-1450

                                                    Counsel for Defendant Greystar Management
                                                    Services, LLC
 /s/ Cliff A. Wade
 Cliff A. Wade
 cliff.wade@bakerlopez.com
 Chelsea L. Futrell
 chelsea.futrell@bakerlopez.com
 BAKER LOPEZ PLLC
 5728 LBJ Freeway, Suite 150
 Dallas, Texas 75240
 Telephone: (469) 206-9384

 Counsel for Defendant Knightvest Residential




                                                8

Case 3:23-md-03071      Document 794       Filed 02/14/24        Page 8 of 16 PageID #: 14442
 /s/ Gregory J. Casas                                 /s/ John J. Sullivan
 Gregory J. Casas (admitted pro hac vice)             John J. Sullivan (admitted pro hac vice)
 casasg@gtlaw.com                                     jsullivan@cozen.com
 Emily W. Collins (admitted pro hac vice)             COZEN O’CONNOR P.C.
 Emily.Collins@gtlaw.com                              3 WTC, 175 Greenwich St., 55th Floor
 GREENBERG TRAURIG, LLP                               New York, NY 10007
 300 West 6th Street, Suite 2050                      Telephone: (212) 453-3729
 Austin, TX 78701-4052
 Telephone: (512) 320-7200                            Molly Rucki (admitted pro hac vice)
                                                      mrucki@cozen.com
 Robert J. Herrington (admitted pro hac vice)         COZEN O’CONNOR P.C.
 Robert.Herrington@gtlaw.com                          1200 19th St. NW, Suite 300
 GREENBERG TRAURIG, LLP                               Washington, DC 20036
 1840 Century Park East, Suite 1900                   Telephone: (202) 912-4884
 Los Angeles, CA 90067
 Telephone: (310) 586-7700                            Counsel for Defendant Independence Realty
                                                      Trust, Inc.
 Becky L. Caruso (admitted pro hac vice)
 Becky.Caruso@gtlaw.com                               /s/ Eliot Turner
 GREENBERG TRAURIG, LLP                               Eliot Turner
 500 Campus Drive, Suite 400                          eliot.turner@nortonrosefulbright.com
 Florham Park, NJ 07932                               NORTON ROSE FULBRIGHT US LLP
 Telephone: (973) 443-3252                            1301 McKinney, Suite 5100,
                                                      Houston, Texas 77010
 /s/ Ryan T. Holt                                     Telephone: (713) 651-5151
 Ryan T. Holt (No. 30191)
 rholt@srvhlaw.com                                    Counsel for Defendant Kairoi Management,
 Mark Alexander Carver (No. 36754)                    LLC
 acarver@srvhlaw.com
 SHERRARD ROE VOIGT & HARBISON, PLC
 150 Third Avenue South, Suite 1100
 Nashville, Tennessee 37201
 Tel. (615) 742-4200

Counsel for Defendant Lincoln Property
Company




                                                  9

Case 3:23-md-03071       Document 794           Filed 02/14/24       Page 9 of 16 PageID #: 14443
  /s/ Michael W. Scarborough
  Michael W. Scarborough (admitted pro hac
  vice)
  mscarborough@velaw.com
  Dylan I. Ballard (admitted pro hac vice)
  dballard@velaw.com
  VINSON & ELKINS LLP
  555 Mission Street, Suite 2000
  San Francisco, CA 94105
  Telephone: (415) 979-6900

  Counsel for Defendant Lantower Luxury
  Living, LLC

  /s/ Britt M. Miller
  Britt M. Miller (admitted pro hac vice)
  bmiller@mayerbrown.com
  Daniel T. Fenske (admitted pro hac vice)
  dfenske@mayerbrown.com
  Matthew D. Provance (admitted pro hac vice)
  mprovance@mayerbrown.com
  MAYER BROWN LLP
  71 South Wacker Drive
  Chicago, IL 6006
  Telephone: (312) 701-8663

  Scott D. Carey (#15406)
  scarey@bakerdonelson.com
  Ryan P. Loofbourrow (#33414)
  rloofbourrow@bakerdonelson.com
  BAKER, DONELSON, BEARMAN, CALDWELL &
  BERKOWITZ, P.C.
  1600 West End Avenue, Suite 2000
  Nashville, TN 37203
  Telephone: (615) 726-5600

  Counsel for Defendants Mid-America
  Apartment Communities, Inc. and Mid-America
  Apartments, L.P.




                                                10

Case 3:23-md-03071      Document 794         Filed 02/14/24   Page 10 of 16 PageID #: 14444
  /s/ Jeffrey C. Bank                           /s/ Richard P. Sybert
  Jeffrey C. Bank                               Richard P. Sybert (WSBA No. 8357)
  jbank@wsgr.com                                rsybert@grsm.com
  WILSON SONSINI GOODRICH & ROSATI PC           GORDON REES SCULLY MANSUKHANI
  1700 K Street NW, Fifth Floor                 701 Fifth Avenue, Suite 2100
  Washington, DC 20006                          Seattle, WA 98104
  Telephone: (202) 973-8800                     Telephone: (206) 321-5222

  Counsel for Defendant Morgan Properties       Counsel for Defendant First Communities
  Management Company, LLC                       Management, Inc




                                              11

Case 3:23-md-03071      Document 794        Filed 02/14/24   Page 11 of 16 PageID #: 14445
   /s/ Jose Dino Vasquez                          /s/ David A. Walton
   Jose Dino Vasquez                              David A. Walton
  dvasquez@karrtuttle.com                         dwalton@bellnunnally.com
  Jason Hoeft                                     Troy Lee (T.J.) Hales
  jhoeft@karrtuttle.com                           thales@bellnunnally.com
  KARR TUTTLE CAMPBELL                            BELL NUNNALLY & MARTIN, LLP
  701 Fifth Avenue, Suite 3300                    2323 Ross Avenue, Suite 1900
  Seattle, WA 98104                               Dallas, TX 75201
  Telephone: (206) 223-1313
                                                  Counsel for Defendant RPM Living, LLC
  Counsel for Defendant Security Properties
  Residential, LLC
                                                  /s/ Diane R. Hazel
                                                  Diane R. Hazel
                                                  dhazel@foley.com
                                                  FOLEY & LARDNER LLP
                                                  1400 16th Street, Suite 200
                                                  Denver, CO 80202
                                                  Telephone: (720) 437-2000

                                                  Elizabeth A. N. Haas (admitted pro hac vice)
                                                  ehaas@foley.com
                                                  Ian Hampton (admitted pro hac vice)
                                                  ihampton@foley.com
                                                  FOLEY & LARDNER LLP
                                                  777 East Wisconsin Avenue
                                                  Milwaukee, WI 53202
                                                  Telephone: (414) 271-2400

                                                  Tara L. Swafford, BPR #17577
                                                  tara@swaffordlawfirm.com
                                                  Dylan Harper, BPR #36820
                                                  dylan@swaffordlawfirm.com
                                                  THE SWAFFORD LAW FIRM, PLLC
                                                  321 Billingsly Court, Suite 19
                                                  Franklin, Tennessee 37067
                                                  Telephone: (615) 599-8406

                                                  Counsel for Defendant Sherman Associates,
                                                  Inc.




                                                12

Case 3:23-md-03071       Document 794         Filed 02/14/24    Page 12 of 16 PageID #: 14446
  /s/ Brent Justus                                  /s/ Yonaton Rosenzweig
  Brent Justus                                      Yonaton Rosenzweig
  bjustus@mcguirewoods.com                          yonirosenzweig@dwt.com
  Nick Giles                                        DAVIS WRIGHT TREMAINE LLP
  ngiles@mcguirewoods.com                           865 S. Figueroa Street, Suite 2400
  MCGUIREWOODS LLP                                  Los Angeles, CA 90017
  800 East Canal Street
  Richmond, VA 23219-3916                           Fred B. Burnside
  Telephone: (804) 775-1000                         fredburnside@dwt.com
                                                    MaryAnn T. Almeida
  Counsel for Defendant Simpson Property            maryannalmeida@dwt.com
  Group, LLC                                        DAVIS WRIGHT TREMAINE LLP
                                                    920 Fifth Avenue, Suite 3300
                                                    Seattle, WA 98104
                                                    Telephone: (206) 757-8016

                                                    Counsel for Defendant Mission Rock
                                                    Residential, LLC


  /s/ Andrew Harris                                 /s/ Benjamin I. VandenBerghe
  Andrew Harris                                     Benjamin I. VandenBerghe
  Andrew.Harris@Levittboccio.com                    biv@montgomerypurdue.com
  LEVITT & BOCCIO, LLP                              Kaya R. Lurie
  423 West 55th Street                              klurie@montgomerypurdue.com
  New York, NY 10019                                MONTGOMERY PURDUE PLLC
  Telephone: (212) 801-1104                         701 Fifth Avenue, Suite 5500
                                                    Seattle, Washington 98104-7096
  /s/ Nicholas A. Gravante, Jr.
  Nicholas A. Gravante, Jr. (admitted pro hac       Counsel for Defendant Thrive Communities
  vice)                                             Management, LLC
  nicholas.gravante@cwt.com
  Philip J. Iovieno (admitted pro hac vice)
  philp.iovieno@cwt.com
  CADWALADER, WICKERSHAM & TAFT LLP
  200 Liberty Street
  New York, NY 10281
  Telephone: (212) 504-6000

  Counsel for Defendants The Related
  Companies, L.P. and Related Management
  Company, L.P.




                                                  13

Case 3:23-md-03071       Document 794           Filed 02/14/24    Page 13 of 16 PageID #: 14447
  /s/ David D. Cross                               /s/ Craig Seebald
  David D. Cross (admitted pro hac vice)           Jessalyn H. Zeigler
  dcross@mofo.com                                  jzeigler@bassberry.com
  Jeffrey A. Jaeckel (admitted pro hac vice)       BASS, BERRY & SIMS, PLC
  jjaeckel@mofo.com                                150 Third Avenue South
  Robert W. Manoso (admitted pro hac vice)         Suite 2800
  rmanoso@mofo.com                                 Nashville, TN 37201
  MORRISON & FOERSTER LLP                          Telephone: (615) 742-6200
  2100 L Street, NW, Suite 900
  Washington, D.C., 20037                          Craig P. Seebald (admitted pro hac vice)
  Telephone: (202) 887-1500                        cseebald@velaw.com
                                                   Stephen M. Medlock (admitted pro hac vice)
  Eliot A. Adelson (admitted pro hac vice)         smedlock@velaw.com
  eadelson@mofo.com                                Molly McDonald
  MORRISON & FOERSTER LLP                          mmcdonald@velaw.com
  425 Market Street                                VINSON & ELKINS LLP
  San Francisco, CA 94105                          2200 Pennsylvania Ave., N.W.
  Telephone: (415) 268-7000                        Suite 500 West
                                                   Washington, D.C. 20037
  Mika M. Fitzgerald (admitted pro hac vice)       Telephone: (202) 639-6500
  mfitzgerald@mofo.com
  MORRISON & FOERSTER LLP                          Christopher W. James (admitted pro hac vice)
  250 W 55th Street                                cjames@velaw.com
  New York, NY 10019                               VINSON & ELKINS LLP
  Telephone: (212) 468-8000                        555 Mission Street
                                                   Suite 2000
  /s/ Joshua L. Burgener                           San Francisco, CA 94105
  Joshua L. Burgener                               Telephone: (415) 979-6900
  jburgener@dickinsonwright.com
  DICKINSON WRIGHT PLLC                            Counsel for Defendant Windsor Property
  424 Church Street, Suite 800                     Management Company
  Nashville, TN 37219
  Telephone: (615) 620-1757                        /s/ Matt T. Adamson
                                                   Matt T. Adamson
  Counsel for Defendant UDR, Inc.                  madamson@jpclaw.com
                                                   JAMESON PEPPLE CANTU PLLC
                                                   801 Second Avenue, Suite 700
                                                   Seattle, WA 98104
                                                   Telephone: (206) 292-1994

                                                   Counsel for Defendant B/T Washington, LLC
                                                   d/b/a Blanton Turner




                                                 14

Case 3:23-md-03071       Document 794          Filed 02/14/24   Page 14 of 16 PageID #: 14448
  /s/ Evan Fray-Witzer                        /s/ James H. Mutchnik
  Evan Fray-Witzer                            James H. Mutchnik
  Evan@CFWLegal.com                           james.mutchnik@kirkland.com
  CIAMPA FRAY-WITZER, LLP                     KIRKLAND & ELLIS LLP
  20 Park Plaza, Suite 505                    300 North LaSalle
  Boston, MA 02116                            Chicago, IL 60654
  Telephone: 617-426-0000                     Telephone: (312) 862-2000

  Counsel for Defendants WinnCompanies LLC, Counsel for Defendants Thoma Bravo L.P.,
  and WinnResidential Manager Corp.         Thoma Bravo Fund XIII, L.P., and Thoma
                                            Bravo Fund XIV, L.P.

  /s/ Ferdose al-Taie                         /s/ Sarah B. Miller
  Ferdose al-Taie (admitted pro hac vice)     Sarah B. Miller (TN#33441)
  faltaie@bakerdonelson.com                   BASS, BERRY & SIMS PLC
  BAKER, DONELSON, BEARMAN CALDWELL &         150 Third Ave. South #2800
  BERKOWITZ, P.C.                             Nashville, TN 37201
  956 Sherry Lane, 20th Floor                 Telephone: (615) 742-6200
  Dallas, TX 75225                            smiller@bassberry.com
  Telephone: (214) 391-7210
                                              Amy F. Sorenson (admitted pro hac vice)
  Christopher E. Thorsen (BPR # 21049)        SNELL & WILMER, L.L.P.
  cthorsen@bakerdonelson.com                  15 West South Temple, Ste. 1200
  BAKER, DONELSON, BEARMAN CALDWELL &         Salt Lake City, UT 84101
  BERKOWITZ, P.C.                             Telephone: (801) 257-1900
  Baker Donelson Center, Suite 800            asorenson@swlaw.com
  211 Commerce Street
  Nashville, TN 37201                       Colin P. Ahler (admitted pro hac vice)
  Telephone: (615) 726-5600                 SNELL & WILMER, L.L.P.
                                            One East Washington St., Ste. 2700
  Counsel for Defendant ZRS Management, LLC Phoenix, AZ 85004
                                            Telephone: (602) 382-6000
 /s/ Jeffrey S. Cashdan                     cahler@swlaw.com
 Jeffrey S. Cashdan (admitted pro hac vice)
 jcashdan@kslaw.com                         Counsel for Defendant Apartment Management
 Emily S. Newton (admitted pro hac vice)    Consultants, LLC
 enewton@kslaw.com
 Lohr A. Beck (admitted pro hac vice)
 lohr.beck@kslaw.com
 Carley H. Thompson (admitted pro hac vice)
 chthompson@kslaw.com
 KING & SPALDING LLP
 1180 Peachtree Street, NE, Suite 1600
 Atlanta, GA 30309
 Telephone: (404) 572-4600

  Counsel for Defendant ECI Management, LLC
                                            15

Case 3:23-md-03071     Document 794      Filed 02/14/24     Page 15 of 16 PageID #: 14449
                                CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2024, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 to all attorneys of record registered on the CM/ECF system.

        DATED this 14th day of February, 2024.



                                                    /s/ Jay Srinivasan
                                                                  Jay Srinivasan




                                               16

Case 3:23-md-03071       Document 794        Filed 02/14/24      Page 16 of 16 PageID #: 14450
